10

11

12

13

14

15

16

17

18

19

20

Case 2:10-cv-00338-RMP ECF No. 80 _ filed 05/31/12 PagelD.549 Page 1of9

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON

EQUAL EMPLOYMENT
OPPORTUNITY COMMISSION, NO: CV-10-338-RMP
Plaintiff, CONSENT DECREE
Vv.

WAL-MART STORES, INC.,

Defendant.

 

 

 

 

Plaintiff Equal Employment Opportunity Commission (“Commission”) filed
this action under Title VII of the Civil Rights Act of 1964 and Title I of the Civil
Rights Act of 1991 to correct unlawful employment practices on the basis of
religion and to provide appropriate relief to Richard Nichols for whom the
Commission alleged was adversely affected by such practices. The Commission
alleged that Defendant Wal-Mart Stores, Inc. (“Wal-Mart”) subjected Mr. Nichols
to discrimination based on his religion, in that it failed to accommodate Mr.

Nichols’ religious needs on the basis of his religion. Defendant has denied the

CONSENT DECREE ~ 1

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:10-cv-00338-RMP ECF No. 80. filed 05/31/12 PagelD.550 Page 2 of 9

Commission’s allegations and claims. The Commission and Defendant Wal-Mart
now seek to resolve this action as to each other and as between Wal-Mart and
Richard Nichols (“Charging Party”) without further contested litigation through the
instant Consent Decree. This resolution does not constitute an admission of
liability on the part of Wal-Mart, nor constitute a finding on the allegations stated
in the Commission’s Complaint.

The Court has reviewed this Consent Decree in light of the pleadings, the
record herein and the applicable law, and now approves this Consent Decree.
GENERAL PROVISIONS

1. The Court has jurisdiction over the subject matter and the parties to this

action. This Court retains jurisdiction over this Consent Decree during its term.

2. The Consent Decree constitutes a full and final resolution of the
Commission’s claims against Wal-Mart in this action.

3. This Consent Decree will become effective upon its entry by the Court.

4. This Consent Decree is final and binding upon the parties to it, the
successors and assigns.

5. The Commission and Wal-Mart will each bear its own costs and

attorneys fees in this action.
///

//f

CONSENT DECREE ~ 2

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:10-cv-00338-RMP ECF No. 80 filed 05/31/12 PagelD.551 Page 3 of 9

GENERAL INJUNCTIVE RELIEF

6. Wal-Mart and its current officers, agents, employees, and all persons in
active concert of participation with them are enjoined to comply with all
requirements of Title VII with respect to providing a work environment free from
discrimination, including discrimination based on religion, and enjoined from
failing to provide reasonable accommodation to employees who request
accommodation of their religious beliefs and practices, and from retaliating against
employees who make such requests.

7. Wal-Mart and its current officers, agents, employees, and all persons in
active concert or participation with them enjoined from retaliating against the
Charging Party, or any other employee or former employee, for having testified or
participated in any manner in the Commission’s investigation and proceedings in
this case.

SPECIAL INJUNCTIVE RELIEF

Training

8. Wal-Mart shall provide equal employment opportunity training to all
Market Human Resource Managers for Region 60 and the Regional Human
Resources Manager, specifically on the subjects of accommodation of religious
beliefs and practices, anti-retaliation, and other forms of discrimination. Said

training shall be held within twelve (12) months of the entry of the Consent

CONSENT DECREE ~ 3

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:10-cv-00338-RMP ECF No. 80 _ filed 05/31/12 PagelD.552 Page 4 of 9

Decree. The training must be no less than one hour duration per session. Said
training will include discussion of an employer’s obligation to accommodate
religious beliefs and practices of its employees, and exploration of various forms of
accommodation, and how to handle an employee’s request for accommodation.

Records Keeping and Reports

9, Within thirty (30) days after completing each training session described
in paragraph 8, Wal-Mart will mail to counsel for the Commission a report
containing the date(s) of the training and a list of all attendees.

10. Once every nine 0) months, to be measured beginning at the date of
entry of the Consent Decree in this matter, and continuing for the duration of this
Consent Decree, Wal-Mart will notify counsel for the Commission whether it has
received any requests for religious accommodation that have been reported to the
Colville Market level, and if so the name and job title of the requesting party, what
steps were taken in response to the request(s), and how each request was resolved.
MONETARY RELIEF |

11. Within 30 days, Wal-Mart will pay a total sum of $70,000 to Charging
Party Richard Nichols as damages in satisfaction of the Commission’s claims
against Wal-Mart as set forth in its complaint.

//f

fil

CONSENT DECREE ~ 4

 
10

1]

12

13

14

15

16

17

18

19

20

 

 

Case 2:10-cv-00338-RMP ECF No. 80 filed 05/31/12 PagelD.553 Page 5 of 9

NOTICE TO EMPLOYEES

12. Wal-Mart shall post a Notice to All Employees in the Colville Store.
This Notice is attached as Exhibit 1 to this Consent Decree. The Notice shall be
posted on a centrally located bulletin board at the Colville Store for the duration of
the Consent Decree.
ENFORCEMENT

13. If the EEOC determines that Wal-Mart has not complied with the terms
of this Consent Decree, the EEOC shall provide written notification of the alleged
breach to Wal-Mart. The EEOC shall not petition the Court for enforcement of
this Consent Decree for at least twenty (20) days after providing written
notification of the alleged breach. The 20-day period following the written notice
shall be used by EEOC and Wal-Mart for good faith efforts to resolve the dispute.
RETENTION OF JURISDICTION

14. The United States District Court for the Eastern District of Washington
shall retain jurisdiction over this matter for the duration of this Consent Decree.
f/f
//f
//f
//f

f/f

CONSENT DECREE ~ 5

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:10-cv-00338-RMP ECF No. 80 _ filed 05/31/12 PagelD.554 Page 6 of 9

DURATION AND TERMINATION

15. The Consent Decree will be in effect for eighteen months from the date
of entry of the Decree. If the EEOC petitions the Court for breach of this Consent
Decree, and the Court finds Wal-Mart to be in violation of the terms of the Consent
Decree, the Court may extend the duration of this Consent Decree.

DATED this 18th day of May, 2012.

WILLIAM R. TAMAYO P. DAVID LOPEZ
Regional Attorney Deputy General Counsel
U.S. EQUAL EMPLOYMENT

OPPORTUNITY COMMISSION JAMES E. LEE

SAN FRANCISCO DISTRICT OFFICE Deputy General Counsel

350 The Embarcadero, Suite 500

San Francisco, CA 94105-1260 GWENDOLYN YOUNG REAMS
Associate General Counsel

JOHN F. STANLEY

Supervisory Trial Attorney

TERI HEALY Senior Trial Attorney

EQUAL EMPLOYMENT EQUAL EMPLOYEMNT
OPPORTUNITY COMMISSION OPPORTUNITY COMMISSION
Seattle Field Office Office of the General Counsel
909 First Avenue, Suite 400 131 M Street N.E., 5th Floor
Seattle, WA 98104-1061 Washington, D.C. 20507

BY: s/Teri Healy
Attorneys for Plaintiff
Equal Employment Opportunity Commission

BY: s/Richard R. Meneghello
FISHER & PHILLIPS, LLP

111 SW Fifth Avenue, Suite 1250
Portland, Oregon 97204

Phone: 503-242-4262

Attorneys for Defendant

CONSENT DECREE ~ 6

 
Case 2:10-cv-00338-RMP ECF No. 80 filed 05/31/12 PagelD.555 Page 7 of 9

Case 2:10-cv-00338-RMP Document 79 Filed 05/18/12

 

 

 

 

 

NOTICE TO EMPLOYEES

This notice has been posted pursuant to the settlement of a lawsuit: EEOC v. Wal-Mart Stores,
Inc. (Case No. C10-0338 RMP). In accordance with the Consent Decree, Wal-Mart will provide
anti-discrimination training, including training on the subjects of accommodation of religious
beliefs and practices, anti-retaliation, and other forms of discrimination; and report to the EEOC
as required by the Consent Decree for the next eighteen months.

Federal law prohibits an employer from discriminating against any individual based on the
individual’s disability with respect to hiring, promotion, demotion, terms and conditions of
employment and/or termination. Federal law also prohibits an employer from allowing any
employee to be harassed because of age, race, color, sex, religion and national origin. It is also
unlawful for an employer to retaliate against any individual because he or she complains of
discrimination or harassment, cooperates with the investigation of a discrimination or harassment
charge, participates as a witness or potential witness in any investigation or legal proceeding or
otherwise exercises his or her rights under the law.

Any employee who is found to have retaliated against any other employee because such
employee participated in this lawsuit will be subject to substantial discipline, up to and including
immediate discharge.

Should you have any complaints of discrimination or retaliation you should contact at
Employees also have the right to bring complaints of discrimination or harassment to the U.S.

Equal Employment Opportunity Commission, Seattle Field Office at 909 1°* Avenue, Suite 400,
Seattle, WA 98104-1061, 206.220.6883, 1800.669.4000.

 

This notice shall remain prominently posted at the Walmart Store in Colville, WA, until November 2013. This Official Notice
shall not be altered, defaced, covered or obstructed by any other material.

CONSENT DECREE

 
10

11

12

13

14

15

16

17

18

19

20

Case 2:10-cv-00338-RMP ECF No. 80 filed 05/31/12 PagelD.556 Page 8 of 9

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON

EQUAL EMPLOYMENT
OPPORTUNITY COMMISSION, NO: CV-10-338-RMP
Plaintiff, ORDER APPROVING CONSENT
DECREE
Vv.

WAL-MART STORES, INC.,

Defendant.

 

 

 

 

The Court, having considered the foregoing stipulated agreement of the
parties, HEREBY ORDERS THAT the Consent Decree be, and the same hereby is,
approved as the final decree of this Court in full settlement of this action. This

lawsuit is hereby dismissed with prejudice and without costs or attorneys’ fees.
f/f

//f

ORDER APPROVING CONSENT DECREE~ 1

 
10

Li

iz

Io

14

15

16

17

18

Ig

20

 

 

Case 2:10-cv-00338-RMP ECF No. 80 filed 05/31/12 PagelD.557 Page 9 of 9

The Court retains jurisdiction of this matter for purposes of enforcing the

Consent Decree approved herein.

DATED this 21 ay of May. , 2012.

ROSANNA MALOUF PETERSON
CHIEF UNITED STATES DISTRICT COURT JUDGE

ORDER APPROVING CONSENT DECREE~ 2

 
